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Case 3

SOM Investigation Summary

Huntington-Cabell Customers

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B Cc D E F G H I J K L
1 Cust Name Customer # DEA# bc Sales Rep Purchase Activity Inv Open | InvClosed| Origin INV Customer Status
14K Hydro (7K Avg) 4/07 Hydro
104|BUDGET DISCOUNT PHARMACY APSG 010099614 BG6892625 Columbus 10K Alpraz (4K Avg) 6/12/2007 | 6/22/2007 | / Alpraz EH |Account Opened - No suspicious found Open
28K Hydro (28k AVG) 4107 Hydro
111]S & F PHARMACY, INC #2 RX 010041830 AS7523118 Columbus Mike Perry 21K Alpraz (19k AVG) 6/1/2007 6/22/2007 ! Alpraz SK__|Account Opened - No suspicious found Open
51.4K Hydro 3/07;
49.6K Hydro,
114]S & F PHARMACY, INC RX 010040360 BS1588168 Columbus Michel Perry | 26.7k Aprazolam 04/07 | 5/8/2007 CSRA TW_ |Account Opened - No suspicious found Open
4/07
Hydro/
115|MEDICAL ARTS SUPPLY, INC APSC 010040238 BM3744489 Columbus Jon Cook 8K Hydro (9K AVG) 5/31/2007 | 6/12/2007 Alpraz JJ__|Account Opened - No suspicious found Qpen
4/07
19K Hydro (16K AVG) Hydro/
117|MEDICAL PARK PHARMACY APSC 010018242 BM9592381 Columbus Jon Cook 14K Alpraz (11k AVG) 6/4/2007 5/27/2007 Alpraz SK _|Account Opened - No suspicious found Open
Al07
21K Hydro (20k AVG) Hydro/
118|MCCLOUD FAMILY PHARMACY APSC 010016402 BM9558733 Columbus Mike Perry 13K Alpraz (11K Avg) | 5/30/2007 | 6/22/2007 Alpraz SK_ |Account Opened - No suspicious found Open
832]SAFESCRIPT PHARMACY #6 APSC 010052670 BS8246349 Columbus Mike Perry 21K Hydro (25K AVG) | 5/31/2007 | 6/26/2007 |4/07 Hydro] Sk |Account Open - No suspicous Found Open
May 07
834|MEDICAP PHARMACY (#317) APSC 010050500 BM7641512 Columbus Mike Perry 5.5.k Hydro Weekly 5/30/2007 | 6/22/2007 | Weekly SK_ {Account Open - No suspisuous found Open
4/07
25K Hydro (23K AVG) Hydro/
860]DRUG EMPORIUM 010040204 BD0427927 Columbus Michael Perry 20K Alpraz (18 AVG) 5/31/2007 | 7/12/2007 Alpraz EH_ {Account Open - No suspicuous Found Open

 

 

 
